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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


NANG MUN LAHPAI,               §
                               §
     Plaintiff,                §                Case No.:
                               §
v.                             §
                               §
CLAREWOOD HOUSE, INC.,         §                TRIAL BY JURY DEMANDED
                               §
     Defendant.                §
_______________________________§

                                    COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       COMES NOW, Plaintiff, Nang Mun Lahpai, through her undersigned

attorneys, and complains of Clarewood House, Inc. and files this Complaint

showing the Court as follows:

                                  INTRODUCTION

       1.     Plaintiff demands a jury trial in this case as to any and all issues

triable to a jury.

       2.     Plaintiff files this Complaint and complains of discrimination on the

basis of national origin and race under Title VII of the Civil Rights Act, 42 U.S.C.

§2000e and under 42 U.S.C. §1981. Plaintiff also complains of violations of the

Family and Medical Leave Act, 29 U.S.C. §2601, et seq.


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      3.     This action seeks compensatory and punitive damages, lost wages

(past, present, and future), attorneys’ fees, taxable court costs, pre-judgment and

post-judgment interest.

                                     PARTIES

      4.     Plaintiff Nang Mun Lahpai is a resident of Houston, Texas. Plaintiff

is Asian, from Myanmar. Plaintiff worked for Defendant for just over three years,

and she worked more than 1250 hours during each of these years.

      5.     Defendant Clarewood House, Inc. is a Texas corporation which

transacts business in Texas. At all times relevant to this case, Defendant had more

than 50 employees for each working day during each of 20 or more calendar

workweeks in the current or preceding calendar year, and fewer than 500

employees. Defendant Clarewood House, Inc. may be served with process on its

registered agent, Patrick Pheifer, 7400 Clarewood Dr., Houston, Texas 77036.

                                      VENUE

      6.     Venue is appropriate in the United States District Court for the

Southern District of Texas, Houston Division, because Clarewood house is located

in Houston, Texas, and is a Texas corporation, doing business in Texas. Moreover,

venue is appropriate because Plaintiff is a resident of Houston, Texas, and the

events leading to this lawsuit occurred in Houston, Texas.

                                 JURISDICTION


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      7.     This Court has original jurisdiction of this action pursuant to 28

U.S.C. §1331 (federal question jurisdiction), under 42 U.S.C. §2000e, et seq., and

under 42 U.S.C. §1981, and under 29 U.S.C. §2601, et seq.

      8.     The unlawful employment practices were committed within the

jurisdiction of this Court.

                              PROCEDURAL PREREQUISITES

      9.     All conditions precedent to the filing of this action have been met by

Plaintiff. Plaintiff was terminated from her employment in April of 2020. Plaintiff

timely filed a charge of discrimination with the Equal Opportunity Commission

(“EEOC”) in Houston on July 29, 2020.

      10.    The EEOC in Houston issued a Notice of Right to Sue letter on

February 2, 2021, entitling Plaintiff to file suit based on race and national origin

discrimination.

      11.    This lawsuit has been filed within ninety (90) days of Plaintiff’s

receipt of the Notice of Right to Sue letter from the EEOC.

                                       FACTS

      12.    Plaintiff was hired by Defendant in March of 2017 as a food service

worker at Clarewood House.




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      13.    On April 4, 2020, Ms. Lahpai sought and received permission to stay

home from work because she was suffering from flu-like conditions, a fever, and

back pain, which was possibly COVID-19.

      14.    On April 5, 2020, Plaintiff spoke with her supervisor, Ms. Daniel, and

told the supervisor she was still feeling ill. Ms. Daniel advised Plaintiff to remain

home, especially because of the threat of the COVID-19 pandemic.

      15.    On April 6, 2020, Plaintiff texted Ms. Ora, her supervisor’s

supervisor, after she could not reach her supervisor, Ms. Daniel. Ms. Lahpai

explained that she was still feeling ill and needed to rest, and would not be in that

day or the next.

      16.    Plaintiff was scheduled to be off of work on April 8th and 9th.

      17.    On April 9th, Plaintiff spoke with Ms. Daniel, and told Ms. Daniel that

Plaintiff was still ill and would be out the next day. Plaintiff also told Ms. Daniel

that she could not return to work because she was a single mother, and had to care

for her seven-year-old son, who did not have school because the schools were

closed as a result of the COVID-19 pandemic.

      18.    On April 11th and 12th, Plaintiff was scheduled to be off of work. On

April 13th, Plaintiff again spoke with Ms. Daniels and told Ms. Daniels that she

could not come to work because of having to care for her son while schools were

closed as a result of the COVID-19 pandemic.


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      19.    In late April, when Plaintiff received the May work schedule, she was

not listed as an employee on the schedule. When she called Defendant to find out

why she was not listed, she was told that she no longer had a job because she

didn’t return to work.

      20.    Between April 13th and the end of April when Plaintiff contacted

Defendant, she did not hear from the Defendant at all.

      21.    Defendant never advised Plaintiff of her rights under the FMLA, nor

did Defendant offer Plaintiff family leave as required pursuant to the FMLA, even

when she spoke with Defendant’s human resources manager.

      22.    Plaintiff is Asian, and she was born in Myanmar.

      23.    The majority of Plaintiff’s co-workers were African American.

      24.    When African American co-workers took time off, their employment

was not terminated.

      25.    One example of an African American co-worker who was not

terminated for taking time off was a man named Mr. Coleman.

      26.    Plaintiff was qualified for her job with Defendant.

 COUNT I: NATIONAL ORIGIN DISCRIMINATION UNDER TITLE VII
           OF THE CIVIL RIGHTS ACT, 42 U.S.C. §2000e

      27.    Plaintiff realleges the factual and jurisdictional statements in

paragraphs 1 through 26 as though fully set forth herein.

      28.    Plaintiff was born in Myanmar.
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      29.    Plaintiff was fired for taking time off from work even though her

African American co-workers were not fired for taking time off from work.

      30.    Because of Plaintiff’s national origin, Defendant terminated Plaintiff’s

employment.

      31.    Defendant’s actions were intentional, willful, harsh, oppressive,

reckless, and malicious, and as a further and proximate cause, Plaintiff has suffered

severe emotional distress, pain, and suffering. The wrongs done by the Defendant

were aggravated by its willfulness, wantonness, and maliciousness for which the

law allows the imposition of exemplary damages. Plaintiff, therefore, seeks

exemplary damages in a sum to be determined by the trier of fact to serve as

punishment to deter Defendant from such conduct in similar situations.

      32.    As a direct and proximate result of the Defendant’s conduct that

violated 42 U.S.C. §2000e, Plaintiff suffered damages, including lost wages,

emotional distress, and attorneys’ fees and costs.

       COUNT II: RACE DISCRIMINATION UNDER 42 U.S.C. §1981

      33.    Plaintiff realleges the factual and jurisdictional statements in

paragraphs 1 through 26 as though fully set forth herein.

      34.    Plaintiff is Asian.

      35.    Plaintiff was fired for taking time off from work even though her

African American co-workers were not fired for taking time off from work.


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      36.    Because of Plaintiff’s race, Defendant terminated Plaintiff’s

employment.

      37.    Defendant’s actions were intentional, willful, harsh, oppressive,

reckless, and malicious, and as a further and proximate cause, Plaintiff has suffered

severe emotional distress, pain, and suffering. The wrongs done by the Defendant

were aggravated by its willfulness, wantonness, and maliciousness for which the

law allows the imposition of exemplary damages. Plaintiff, therefore, seeks

exemplary damages in a sum to be determined by the trier of fact to serve as

punishment to deter Defendant from such conduct in similar situations.

      38.    As a direct and proximate result of the Defendant’s conduct that

violated 42 U.S.C. §1981, Plaintiff suffered damages, including lost wages,

emotional distress, and attorneys’ fees and costs.

     COUNT III: FAILURE TO COMPLY WITH THE FAMILY AND
           MEDICAL LEAVE ACT, 29 U.S.C. §2601, et seq.


      39.    Plaintiff realleges the factual and jurisdictional statements in

paragraphs 1 through 26 as though fully set forth herein.

      40.    Plaintiff missed work first because she was ill, and then because she

was required to care for her minor child, whose school had been closed as a result

of the COVID-19 pandemic.




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      41.    Both of the reasons that Plaintiff missed work entitled Plaintiff to take

up to 12 weeks off work pursuant to the Family and Medical Leave Act, 29 U.S.C.

§2601, et seq. (“FMLA”)

      42.    Plaintiff took off work for less than 12 weeks.

      43.    Defendant never offered Plaintiff family or medical leave, but instead,

in violation of the FMLA, terminated Plaintiff’s employment because she took

time off work due to her own illness and due to her need to care for her minor child

whose school was closed as a result of the COVID-19 pandemic.

      44.    Defendant’s actions were intentional, willful, harsh, oppressive,

reckless, and malicious, and as a further and proximate cause, Plaintiff has suffered

severe emotional distress, pain, and suffering. The wrongs done by the Defendant

were aggravated by its willfulness, wantonness, and maliciousness for which the

law allows the imposition of liquidated, double damages. Plaintiff, therefore, seeks

liquidated damages of double the Plaintiff’s damages, plus interest.

      45.    As a direct and proximate result of the Defendant’s conduct that

violated the FMLA, Plaintiff suffered damages, including lost wages, interest, and

attorneys’ fees and costs.

                             PRAYER FOR RELIEF

      46.    WHEREFORE, Plaintiff requests liquidated damages, interest, and

attorneys’ fees from Defendant under the FMLA, 29 U.S.C. §2601, et seq., and


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damages, exemplary damages, and reasonable attorneys’ fees from Defendant

pursuant to Title VII, 42 U.S.C. §2000e and 42 U.S.C. §1981.

                          JURY TRIAL DEMANDED

      47.   The Plaintiff demands a trial by jury.

                                      Respectfully submitted,

                                      COANE AND ASSOCIATES, PLLC

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